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                                        MINUTES



   CASE NUMBER:            CIVIL NO. 18-00080LEK-WRP
   CASE NAME:              In Re: In The Matter Of: The Search Of: Boston Whaler 370
                           Outrage "Painkiller"

                           Movant Hawaii Partners, LLC vs. Respondent
                           United States of America
   ATTYS FOR PLA:
   ATTYS FOR DEFT:
   INTERPRETER:


         JUDGE:      Leslie E. Kobayashi           REPORTER:

         DATE:       07/11/2019                    TIME:


  COURT ACTION: EO: COURT’S INCLINATION TO CLOSE CASE

          On October 13, 2017, Movant Hawaii Partners, LLC (“Movant”) filed its Motion
  for Return of Property (“Motion”). [Dkt. no. 1.] On February 22, 2019, this Court
  terminated the Motion without prejudice to Movant filing a similar motion, after Movant
  and Respondent the United States of America (“the Government”) met with the
  magistrate judge, as Discovery Master, to discuss whether the Government could return
  all or some of Movant’s property. [EO: Court Order Directing Parties to Schedule Status
  Conference (dkt. no. 54).]

          Given the parties’ representations at the discovery/status conference before the
  magistrate judge held on May 17, 2019, [Minutes, (dkt. no. 63),] the Court is inclined to
  find that there are no remaining issues, and to order that the case be closed as of July 26,
  2019. If any party objects to the Court’s inclination and the closing of this matter, that
  party must submit a letter brief setting forth the legal and factual basis of the objection.
  The letter brief may not exceed five pages in length, and must be submitted to this Court’s
  chambers either by hand-delivery, mail, or facsimile to (808)541-1386, by July 22, 2019.
  If no timely objection is received, the Clerk’s Office is HEREBY DIRECTED to close
  the case on July 26, 2019.

         IT IS SO ORDERED.

  Submitted by: Warren N. Nakamura, Courtroom Manager
